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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA


         v.                                       1:06-cr-0147-WSD-GGB
 SYED HARIS AHMED,
 EHSANUL ISLAM SADEQUEE,
                            Defendants.


                              OPINION AND ORDER


         The matter is before the Court on the Government’s Motion for In Camera

Review Classified Hearings [411, 413, 415, 417], on the Defendants’ Joint Notice

of Intent to Seek Declassification [385] and the Government’s Motions to Strike

the Defendants’ Joint Notice of Intent [390, 392, 394, 396], on the CIPA Section 5

Notices filed by Defendant Ahmed [420] and Defendant Sadequee [422], and on

the Government’s responses to the Defendants’ CIPA Section 5 Notices [436,

437].

         The Classified Information Procedures Act (“CIPA”), 18 U.S.C. App. III,

provides for the protection and use of classified information in criminal

proceedings. Section 5 of CIPA requires a criminal defendant to notify the United
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States if he “reasonably expects to disclose or to cause the disclosure of classified

information in any manner in connection with any trial or pretrial proceeding

involving the criminal prosecution of such defendant . . . .” 18 U.S.C. App. III §

5(a). “Whenever a defendant learns of additional classified information he

reasonably expects to disclose at any such proceeding, he shall notify the attorney

for the United States and the court in writing as soon as possible thereafter and

shall include a brief description of the classified information.” Id.

      Section 6 of CIPA permits the United States to request that the Court

conduct a hearing to make all determinations concerning the use, relevance, and

admissibility of classified information the Government or the defense intends to

introduce in trial or pretrial proceedings. 18 U.S.C. App. III § 6(a). “Any hearing

held pursuant to this subsection (or any portion of such hearing specified in the

request of the Attorney General) shall be held in camera if the Attorney General

certifies to the court in such petition that a public proceeding may result in the

disclosure of classified information.” Id.1 The Court must set forth in writing its

determination as to the use, relevance, and admissibility of each item of classified

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   The Government filed classified and unclassified motions requesting that the
Court conduct an in camera hearing on the Government’s CIPA Section 6 motions,
attaching a declaration of the Deputy Attorney General stating that a public
proceeding may result in the disclosure of classified information and would cause
identifiable damage to the national security of the United States [411, 413, 415,
417]. 18 U.S.C. App. III § 6(c)(2).

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information at issue. Id. Before a CIPA Section 6(a) hearing on use, relevance,

and admissibility, the Government must provide the defense with notice of the

specific classified information at issue. Id. § 6(b)(1).

      Upon a determination by the Court authorizing disclosure of specific

classified information pursuant to CIPA Section 6(a), the Government may move

that instead of disclosure, the Court order the substitution for classified information

of a statement admitting facts the classified information would tend to prove or of

a summary of the specific classified information. Id. § 6(c)(1). The Court must

grant the Government’s substitution motion if it finds the “statement or summary

will provide the defendant with substantially the same ability to make his defense

as would disclosure of the specific classified information.” Id. The Court

considers whether use of the substitution rather than the original documents will

“materially disadvantage the defendant.” Untied States v. Moussaoui, 382 F.3d

453, 477 (4th Cir. 2004). The purpose of a CIPA Section 6(c) substitution is to

protect classified information vital to the national security of the United States

while placing the defendant in, as nearly as possible, the same position he would

have been in if the classified information were available to him. Id.

      On March 30, 2009, the Court held a closed, in camera hearing to consider

unclassified substitutions proposed by the Government for nineteen (19) separate


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pieces of classified evidence the Government intends to introduce at trial. See

Gov’t.’s Exhs. 1-19 (“Substitutions 1-19”) to Gov’t.’s Second Classified Motion

for Approval of Substitutions [414, 416]. On March 31, 2009, the Court granted

the Government’s Classified and Unclassified Second Motions for Substitutions

[410, 412, 414, 416]. The Court also granted the Government’s initial Classified

and Unclassified Motions for In Camera Classified Hearings, to determine the use,

relevance, and admissibility of the Government’s proposed substitutions, pursuant

to CIPA Section 6(a) [411, 413, 415, 417].

      On February 16, 2009, the Defendants filed a Joint Notice of Intent to Seek

Declassification of Documents Pursuant to CIPA Section 5 [385]. The

Government moved to strike the Defendants’ Joint Filing as being improper under

CIPA Section 5 [390, 392, 394, 396].

      On March 30, 2009, defendant Ahmed filed a second amended CIPA

Section 5 Notice stating that he reasonably expected to disclose at trial classified

information numbered in range CLS-A-000001 to CLS-A-000021 [420].

      On April 2, 2009, defendant Sadequee filed a separate amended CIPA

Section 5 notice stating that he reasonably expected to disclose at trial the

classified materials marked as CLS-2S-00126-127 and E7-2-15; 17-28; 30-32;

139-144; 161-162; 165; 200-201; 288-292; 303-306; 315; 470; 472-477; 525-538


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[422]. The Government responded to these amended CIPA Section 5 Notices

[434, 435, 436, 437, 466, 467].

      The Court originally had scheduled a closed in camera hearing regarding the

use, relevance, and admissibility of classified information proposed to be disclosed

by the Government and the Defendants. The Parties made the Court aware that

due to stipulations they had reached, a formal CIPA Section 6 hearing would not

be necessary.

      On May 13, 2009, the Court held a closed in camera conference with

counsel in this case for the purpose of discussing CIPA evidence and substitutions.

The parties advised the Court that they had reached stipulations as to the

authenticity of the Government’s Substitutions 1-19, which previously were

approved in the Court’s March 31, 2009 Order. The Government thereby

withdrew its motions for an in camera hearing pursuant to CIPA Section 6(a) to

consider the use, relevance, and admissibility of those substitutions.

      The parties also advised the Court that the Government had proposed, and

the Defendants had agreed to, the use of unclassified substitutions in lieu of the

specific classified information the Defendants notified the Government they

intended to disclose. The Government advised the Court that it had declassified

many of the documents Defendant Sadequee intends to present at trial. As to the


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document numbered CLS-2S-000126-000127, which has not been declassified, the

Government and Defendant Sadequee have agreed on an unclassified substitution

(the “Sadequee Substitution”). Gov’t.’s Notice of Filing [467], Exh. B. As to the

document numbered CLS-A-000001-000021, which Defendant Ahmed seeks to

disclose, the Government and Defendant Ahmed have agreed upon an unclassified

substitution (the “Ahmed Substitution”). Gov’t.’s Notice of Filing [466], Exh. B.

The parties expressly agreed at the conference that no further hearings would be

required to determine the authenticity of these materials or the adequacy of the

substitutions agreed upon by the parties.

       The Court has examined the substitutions presented at the conference, and to

which Defendants Ahmed and Sadequee have agreed, and finds they provide the

Defendants with substantially the same ability to make their defenses as would the

disclosure of the classified information they requested. The Court further finds

that Substitutions 1-19 and the Ahmed Substitution and the Sadequee Substitution

are authentic. The Court accordingly approves the use of these unclassified

substitutions at trial. The parties notified the Court that they reserve any relevancy

objections to these unclassified substitutions. These objections, if any, will be

raised at trial.




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      For the foregoing reasons,

      IT IS HEREBY ORDERED that the Ahmed Substitution and the Sadequee

Substitution are approved as providing the Defendants with substantially the same

ability to make their defenses as would disclosure of classified information.

      IT IS HEREBY FURTHER ORDERED that the Government’s

Substitutions 1-19 are admitted, subject to relevancy objections which the

Defendants may assert at trial.

      IT IS HEREBY FURTHER ORDERED that the Defendants’ Joint Notice

of Intent to Seek Declassification [385] and the Government’s Motions to Strike

the Defendants’ Joint Notice of Intent [390, 392, 394, 396] are DENIED AS

MOOT.

      SO ORDERED this 14th day of May 2009.


                                  _________________________________________
                                  WILLIAM S. DUFFEY, JR.
                                  UNITED STATES DISTRICT JUDGE




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